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                                   UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION

 RE:       JOSE EDUARDO NEVAREZ                                                              CASE NUMBER: 24-13109 RAM


                     TRUSTEE'S NOTICE OF DEFICIENCY AND RECOMMENDATION
                      (If this case is dismissed, this deficiency is an objection to reinstate)

The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee’s letter
or requirements under the Bankruptcy Code and Rules. The Trustee reserves the right to raise additional
objections UNTIL all documents are provided to the Trustee and reviewed for issues raised and additional
documents needed. See Court Notice of Commencement for additional information and Trustee’s website
www.CH13miami.com for forms and procedures.

As appropriate, all written responses or documents must be received through BKDOCS.US or filed with the Clerk
by 5pm at least 15 days prior to the first confirmation hearing or agreed deadline if confirmation is continued.
Pro Se debtors may fax documents to 954-443-4452. Late documents may not be reviewed or considered, and
this case may be at risk of dismissal. The Trustee’s Office has a “Pre-call” date, THE THURSDAY PRIOR TO
THE HEARING. During this period, the Debtor’s or Creditor’s attorney must call and speak to the Trustee’s
staff attorney unless they agree to the Trustee’s recommendation. A final calendar will be published with any
changes to this recommendation the day before the hearing on the front page of the Trustee’s website.

 ***RECOMMENDATIONS ARE CHANGED UPON REVIEW OF DOCUMENTS NOT RECEIPT***
    THE DEBTOR’S ATTORNEY OR SELF REPRESENTED DEBTOR MUST APPEAR AT THE
             CONFIRMATION HEARING OR THE CASE MAY BE DISMISSED
TRUSTEE’S RECOMMENDATION FOR HEARING
                                                     LAST REVIEWED: 11/22/2024
                                                                                                             Objection to Exemption
Plan served 9/4
If debtor’s counsel appears, confirms service, agrees to vesting and the recommendation on the record:
Continue to 1/21:
Due on before 12/13 Remains unresolved from 11/12 1) LF 90 Debtor signature missing, 2) Bank Account
Statements: #7866 12/30/23-3/30/24, #0860 12/30/23-3/30/24 & #2464 12/30/23-3/30/24, 3) Proof of
household size (government ID w/ address) and income of all adults disclosed on Sch J and CMI, 4) provide
pay advices for significant other or remove from household size, 5) Income understated pursuant to taxes:
$62,548.00, 6) Amend schedules to itemize and provide valuation of assets in storage unit,

RECONVERT NOT DISMISS

Trustee will request dismissal at the next confirmation hearing if documents are not provided and issues
                                         not resolved before 12/13




I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor’s attorney or by U.S. First Class
pre-paid Mail on the pro se debtor on the same day filed with the Court.

                                                                  Submitted by:
                                                                  NANCY K. NEIDICH, ESQ, STANDING CHAPTER 13 TRUSTEE
                                                                  P.O. BOX 279806, MIRAMAR, FL 33027, (954) 443-4402
